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7    United States of America
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9
                              IN THE UNITED STATES DISTRICT COURT
10
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
      UNITED STATES OF AMERICA                          Case No. 1:21-cr-00184-DAD-BAM
13
                     Plaintiff,                         STIPULATION TO CONTINUE STATUS
14                                                      CONFERENCE; AND ORDER
15          v.
16    DARYOL RICHMOND, aka “Nutcase,”                   DATE:      October 13, 2021
      “Nuttcase,” and “Nuttcase 3x,”
17    TELVIN BREAUX, aka “AJ” and “Lilcup,”
      and HOLLY WHITE,
18                                                      TIME:  1:00 p.m.
                     Defendants.                        JUDGE: Hon. Barbara A. McAuliffe
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20
            IT IS HEREBY STIPULATED by and between the parties through their respective
21
     counsel that the Status Conference scheduled for October 13, 2021, at 1:00 p.m., for all three
22
     defendants may be continued until January 26, 2022, at 1:00 p.m., before the Honorable Barbara
23
     A. McAuliffe. The government has produced discovery to defense counsel. Defense counsel
24
     has further investigation to perform in this case and the need for settlement exploration, trial
25
     preparation, and discovery review. The parties agree that time under the Speedy Trial Act shall
26
     be excluded through January 26, 2022, in the interests of justice, including but not limited to, the
27
     need for effective defense preparation and defense investigation pursuant to 18 U.S.C. §§
28
     3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).
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1    The parties will further agree that the ends of justice served by taking this action outweigh the
2    best interests of the public and of the defendant to a speedy trial.
3
4
5
      Dated: October 5, 2021                               /s/ Meghan McLoughlin
6                                                          Meghan McLoughlin
                                                           Counsel for Defendant Daryol Richmond
7
8     Dated: October 5, 2021                               /s/ Austin Dove
9                                                          Austin Dove
                                                           Counsel for Defendant Telvin Breaux
10
11    Dated: October 5, 2021                               /s/ Richard Oberto
                                                           Richard Oberto
12                                                         Counsel for Defendant Holly White

13
      Dated: October 5, 2021                               /s/ Joseph Barton
14                                                         JOSEPH BARTON
                                                           Assistant United States Attorney
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     Case 1:21-cr-00184-ADA-BAM Document 40 Filed 10/06/21 Page 3 of 3


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      UNITED STATES OF AMERICA                           Case No. 1:21-cr-00184-DAD-BAM
12
                     Plaintiff,                          ORDER
13
             v.
14
      DARYOL RICHMOND, aka “Nutcase,”
15    “Nuttcase,” and “Nuttcase 3x,”
      TELVIN BREAUX, aka “AJ” and “Lilcup,”
16    and HOLLY WHITE,
17                   Defendants.
18
19           Upon the Parties’ stipulation and for good cause shown, the Status Conference scheduled
20   for October 13, 2021, at 1:00 p.m. for all three defendants is continued until January 26, 2022,
21   at 1:00 p.m., before the Honorable Barbara A. McAuliffe. The period through January 26,
22   2022, inclusive, is excluded pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i) and
23   (iv).
24   IT IS SO ORDERED.
25
         Dated:    October 6, 2021                            /s/ Barbara A. McAuliffe             _
26
                                                         UNITED STATES MAGISTRATE JUDGE
27
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                                                     3
